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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________

BROIDY CAPITAL MANAGEMENT,
LLC, et al.

       Plaintiffs,

       v.                                          Civil Action No. 1:19-cv-00150-DLF

NICOLAS D. MUZIN, et al.

       Defendants.



                        PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                          MOTION FOR EXPEDITED DISCOVERY

                                       INTRODUCTION

       In Defendants’ Oppositions, they argue that discovery should not proceed, as they will

move to dismiss on the basis of derivative sovereign immunity because they are agents of Qatar.

They propose no discovery until their motions are resolved. But these motions actually increase

the need for discovery now. A moratorium on discovery would prevent plaintiffs from obtaining

and presenting evidence directly relevant to those forthcoming motions to dismiss. This is

improper. Far from rebutting plaintiffs’ demonstration of good cause for targeted, expedited

discovery—both to reproduce documents plaintiffs already obtained in the California action and

to mitigate the real possibility that evidence will not be preserved for this litigation—defendants’

oppositions and announced forthcoming motions underscore the need for obtaining that

discovery without delay.

       Plaintiffs established good cause to take discovery now. First, there is no reason why

discovery that was already completed from a prior case, much of which relates to defendants’

claims of purported immunity, should not be re-produced in this action. The already produced
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evidence is directly relevant to defendants’ forthcoming Rule 12(b)(1) motions. And

reproducing that material would not require significant effort by defendants. Second, permitting

third-party discovery directed at entities mentioned in the First Amended Complaint (“FAC”)

and a discrete number of social media accounts maintained by outside electronic service

providers will preserve vital discovery from destruction or spoliation. Defendants’ arguments

fail to grapple with the unique circumstances of this case and the circumscribed nature of the

discovery plaintiffs seek.

       The need for this discovery is made all the more compelling by defendants’ plans to file a

Rule 12(b)(1) motion, invoking derivative sovereign immunity. Many of the documents

plaintiffs seek would be directly relevant to this defense. They will illuminate defendants’

relationship with Qatar, the scope of their authority to act for that nation, their relationship with

other parties paid by Qatar, and other issues that defendants have the burden of proving in an

evidentiary showing. Lewis v. Mutond, 918 F.3d 142, 145 (D.C. Cir. 2019) (“The defendant

bears the burden of proving foreign official immunity.”). The law of this Circuit supports

discovery to rebut defendants’ jurisdictional immunity defenses. See Phoenix Consulting Inc. v.

Republic of Angola, 216 F.3d 36, 40 (D.C. Cir. 2000); GTE New Media Servs. Inc. v. BellSouth

Corp., 199 F.3d 1343, 1351 (D.C. Cir. 2000). Defendants’ suggestion that plaintiffs should have

no discovery to counter defendants’ assertions during the pendency of their Rule 12(b)(1) motion

has no legal support.

       At the outset, defendants’ claims for derivative sovereign immunity, relying solely on

their status as paid lobbyists and publicity promoters for Qatar, are likely to fail as a matter of the

law. U.S. citizens like the defendants cannot shield their unlawful acts by claiming immunity

derived from a foreign power. There is no support for such “derivative” immunity, and it runs

counter to the State Department’s well-established position that U.S. citizens cannot hide behind

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foreign sovereigns to escape the jurisdiction of U.S. courts. Moreover, the D.C. Circuit’s recent

decision in Lewis v. Mutond forecloses that defense in cases like this one, where plaintiffs seek

relief from alleged foreign agents in their individual capacity only. 918 F.3d at 146–47. These

issues will be fully briefed in the forthcoming motions to dismiss. Suffice it to say for now that

defendants’ claims of common law immunity are not well founded.

        Even if defendants could overcome these purely legal obstacles, the questions regarding

their authority to act for Qatar and whether they exceeded that authority would be heavily fact-

dependent. For instance, while the FAC alleges that defendant Nicholas Muzin is a registered

agent of Qatar for purposes of the Foreign Agents Registration Act (“FARA”), Doc. No. 18-2, ¶

13, his FARA registration includes his operative contract with Qatar, which explicitly disclaims

any principal-agent relationship and assigns Muzin the responsibility to comply with all

applicable laws and regulations. Ex. A.1 His agreement with Qatar raises serious factual

questions about the degree to which his actions alleged here were undertaken on his own

initiative or at the express direction of Qatar and, if the latter, the scope of his authority in

carrying out that direction. Plaintiffs sought discovery relating to these issues in the California

action—for instance, they requested defendant Joseph Allaham’s communications with Qatar

regarding his retention by and representation of Qatar. Ex. B (Allaham subpoena, served April

23, 2018).2 They also deposed Allaham. But defendants now improperly seek to conceal that



        1
          Ex. A to FARA filing of Stonington Strategies, (filed Sept. 3, 2017), at 6-7, available at
https://efile.fara.gov/docs/6458-Exhibit-AB-20170903-1.pdf (“This Agreement is not intended to
establish an employer-employee relationship, or principal-agent relationship. . . . You shall be
solely responsible for compliance with any applicable laws or regulations that govern your
performance of this Agreement.”).
        2
         For example, the subpoena requested, inter alia, documents relating to Allaham’s
“representation of the State of Qatar” and his “retention by the State of Qatar.” Ex. B, at 6 (filed
as Dkt. 2-4 in Broidy Capital Mgmt. v. Allaham, No. 1:18-mc-00240 (SDNY June 6, 2018).

                                                    3
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evidence from this Court while it considers their immunity arguments. Far from providing a

basis for staying discovery, then, defendants’ planned invocation of derivative sovereign

immunity only amplifies the need for that discovery now.

       Plaintiffs seek redress in this case relating to the unlawful manner in which defendants

selected Mr. Broidy and his company as the target for hacking. Defendants participated in a

scheme (along with others in the Qatari Enterprise) to illegally hack Mr. Broidy’s emails and

distribute them to the media in carefully curated batches to discredit Mr. Broidy as a critic of

Qatar. There exists good cause for focused, expedited discovery regarding those illegal actions,

both to reproduce documents plaintiffs already obtained from the California action and to

mitigate the real possibility that evidence in this case will not be preserved.

       Defendants resist this common-sense position. Indeed, they go so far as to argue that

discovery should be categorically stayed until their Rule 12(b)(1) motions are decided. This

position is contrary to law, especially since defendants have revealed that they plan to invoke the

jurisdictional defense of derivative sovereign immunity. Defendants provide no basis for

denying plaintiffs the ability to preserve discovery and supply the Court with all the evidence

already in plaintiffs’ possession. Accordingly, the Court should grant plaintiffs’ motion for

expedited discovery.

                                         BACKGROUND

       Plaintiffs set forth the relevant factual basis for their motion in their opening

Memorandum. Mem. at 2-6. Defendants, by contrast, spend much of their oppositions

mischaracterizing the litigation history of the previous California and New York cases in order to

impugn plaintiffs’ motives. But they cannot deny that plaintiffs are victims of a publicly


Much of the protected material at issue in Category One was produced by Allaham in response to
the subpoenas for documents and testimony served on him.


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recognized hacking scheme and seek expedited discovery to investigate that tortious activity.

Although many of defendants’ mischaracterizations are entirely irrelevant to this motion,

plaintiffs must correct the record on a few points.

       First, defendants mischaracterize the California court’s denial of a temporary restraining

order (“TRO”) in that case as a decision on the merits. Stonington Mem. at 3. The key point

they omit is that at the time of the TRO application, plaintiffs had none of the evidence they later

obtained through jurisdictional discovery, much of which they cannot use here unless this motion

is granted. See Broidy Capital Mgmt., et al. v. State of Qatar, No. 18-cv-02421-JFW (C.D. Cal.

filed Mar. 26, 2018) (the “C.D. Cal. action” or “California action”), Dkt. 37 at 2. In fact, the

California court never reached a decision on the merits or considered plaintiffs’ newly

discovered evidence. Rather, the district court dismissed that litigation on the grounds of foreign

sovereign immunity as to Qatar, a decision currently on appeal to the Ninth Circuit, and lack of

personal jurisdiction as to the remaining named defendants. As a result, plaintiffs sued

defendants in this district, which has personal jurisdiction.

       Defendants similarly make much of the fact that plaintiffs were denied jurisdictional

discovery in the New York action, against former United Nations official Jamal Benomar.

Broidy Capital Mgmt., et al. v. Benomar, No. 7:18-cv-06615 (S.D.N.Y. filed July 23, 2018)

(“SDNY Action”). But the district court there focused on Benomar’s full diplomatic status

immunity as an envoy for Morocco. SDNY Action, Dkt. 61-2, at 20. Discovery was not

directed at U.S. citizens claiming derivative sovereign immunity, as it is here.

       Nor did the district court, as defendants erroneously suggest, reach any definitive

conclusion on Benomar’s claim of derivative sovereign immunity. Stonington Mem. at 9.

Instead, it merely held that it “tended to think” it would hold in Benomar’s favor if it were

required to do so. SDNY Action, Dkt. 61-2 at 41. The district court in New York likewise never

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had occasion to decide the merits of plaintiffs’ claims. In any event, the district court’s

diplomatic immunity decision in that case, which has no bearing on the issues here, was

erroneous, and is currently on appeal to the Second Circuit. See Broidy Capital Mgmt., et al. v.

Benomar, No. 19-236 (2d Cir. Appellants’ Br. filed Mar. 14, 2013).3

       Finally, Defendants mischaracterize plaintiffs’ compliance with the terms of the

California protective order. Stonington Opp. at 10. Plaintiffs, in good faith, filed confidential

material under seal in this case because plaintiffs believed the protective order plainly allowed

such material to be used in “related actions.” See Doc. No. 13-1 at 5 (attaching copy of

protective order). The magistrate in California found that the plaintiffs’ position was

“understandable” because the protective order—which was drafted by the California defendants

over plaintiffs’ objection—“does not expressly define ‘related actions.’” C.D. Cal. Dkt. 246 at 1.

Nevertheless, the magistrate ultimately ruled against plaintiffs’ interpretation, and plaintiffs

promptly withdrew their original complaint and obtained leave to file the FAC without any

protected material. Doc. No. 18. Contrary to Stonington’s position, the present motion is not

“inconsistent with the Central District of California’s [magistrate’s] decision.” Stonington Opp.

at 19. To the contrary, Qatar itself suggested in that case that plaintiffs could always obtain the

same materials through discovery in separate litigation. Mem. at 11; Doc. No. 19-7 at 27.

Plaintiffs merely seek to reobtain those same documents under this Court’s powers so that the

evidence can be properly used in this action.

       3
          Stonington Defendants quote snippets from a transcript of a hearing before Judge Seibel
in the Southern District of New York, Stonington Opp. at 18, but that discussion concerned
whether plaintiffs, consistent with the C.D. Cal. protective order, could use protected material in
a First Amended Complaint they intended to file. Here, as Stonington Defendants acknowledge,
plaintiffs “did go back to the California court” to resolve the protective order issue. Id. Now,
however, they seek to discover the protected material through this Court’s discovery process, just
as Qatar suggested they should do in the California proceedings. The prior hearing in New York
has no bearing on this motion.


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                                          ARGUMENT

       Defendants improperly seek to exclude from the Court’s consideration evidence that

would help defeat any affirmative defense of derivative immunity and bolster the plausibility of

plaintiffs’ claims.4 Plaintiffs have shown a strong justification for documents in Category One

that is only reinforced by defendants’ plans to file a motion to dismiss. As to Category Two,

plaintiffs have similarly shown that this evidence could be spoliated, and there is a serious

possibility that the entities named in the original complaint—filed on January 24 of this year—

could move to conceal their actions from future discovery. Granting the motion to expedite

discovery would mitigate these risks.

I.     Plaintiffs Have Good Cause for Expedited Discovery

       The question of whether to permit expedited discovery is case-specific. Defendants

concede the Court’s authority under Rule 26(d)(1) to order expedited discovery under the

reasonableness standard, with attention to the specific facts of the case. Stonington Opp. at 13.5

Indeed, “[g]ood cause may be found where the need for expedited discovery, in consideration of

the administration of justice, outweighs the prejudice to the responding party.” Semitool, Inc. v.

Tokyo Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002). The Court should grant

expedited discovery under the unique circumstances of this case.




       4
         Both Allaham and Howard incorporate, and largely reiterate, Stonington Defendants’
opposition by reference. See Howard Opp. at 2; Allaham Opp. at 2.
       5
         Allaham incorrectly asserts that “according to the Local Rules . . . no discovery is to
occur until an answer is filed.” Allaham Op. at 4. This is not so; the Local Rules simply
provide, “The requirements of this Rule and of Fed. R. Civ. P. 16(b) and 26(f), shall not apply in
cases in which no answer has yet been filed.” LCvR 16.3(b). The Local Rules do not, and
cannot, contradict Federal Rule of Civil Procedure 26(d)(1).

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         A.     Plaintiffs Are Entitled to Expedited Discovery of Already Produced
                Documents (Category One)

         Defendants do not meaningfully dispute that the “Category One” documents are (1)

already in plaintiffs’ possession and (2) clearly probative to plaintiffs’ case. There can be no

reasonable justification for requiring plaintiffs to pretend this relevant evidence does not exist, or

to refrain from presenting it to this Court in response to defendants’ planned Rule 12(b)(1)

motions until after they are decided.

         As plaintiffs have explained, Mem. at 8, defendants would not have to produce anything

new in response to this category of requests. Rather, they would simply re-produce the prior

materials, which could be accomplished by simply affirming that the documents already in

plaintiffs’ possession complete their production. Many of the document subpoenas in the

California case generated information relevant to the jurisdictional issues that defendants intend

to put before the Court. Thus, for instance, document requests directed at Joseph Allaham

sought to discover the nature of his retention by Qatar and the scope of his representation. Ex. B.

Plaintiffs also took Allaham’s deposition, and asked similar questions about his role, his

relationship to other co-conspirators, and other issues relevant to any asserted authority to act on

behalf of Qatar in this case. Some excerpts of that testimony were eventually designated as

highly confidential under the protective order. See Allaham Op. at 2. If plaintiffs are truly

required to follow the “normal litigation process,” as defendants insist, Allaham Op. at 9, they

would be forced to ignore Allaham’s sworn testimony that is relevant to whether he qualifies for

derivative sovereign immunity. That is unreasonable and contrary to law. See Mem. at 9 (citing

Carter-Wallace, Inc. v. Hartz Mountain Indus., Inc., 92 F.R.D. 67, 70 (S.D.N.Y. 1981);

Lillibridge v. Nautilus Ins. Co., No. 10-4105-KES, 2013 WL 1896825, at *8 (D.S.D. May 3,

2013).


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       At the same time, there would be no prejudice to any responding party, as all of the

requested documents have already been produced and used in the California action. Given the

California magistrate’s decision about the protective order, there is good cause to have those

same documents “reproduced” in this action under this Court’s supervision, so the parties may

present all available evidence to the Court when it decides the Rule 12 motions.

       As set forth in plaintiffs’ memorandum, Mem. at 9-10, the Category One discovery—

which seeks nothing more to allow discovery in this case of previously produced documents—

clearly satisfies the reasonableness test. First, the “breadth of the discovery” is extraordinarily

narrow; no additional effort is required from defendants. In re Fannie Mae Derivative Litig., 227

F.R.D. 142, 143 (D.D.C. 2005). Defendants concede, as they must, that “the universe of

protected information is small,” Stonington Opp. at 20, but it entails some of the most sensitive

and relevant communications in this dispute (which this Court can appropriately protect through

a protective order). The next factor, the purpose for requesting expedited discovery, also favors

plaintiffs, because these requests merely seek to obtain already-discovered evidence to aid the

Court in understanding why the case should not be dismissed for derivative sovereign immunity

or any other ground raised by defendants in their forthcoming Rule 12(b)(1) motions.

       Yet another factor, the burden of discovery on defendants, also favors granting the

motion. Defendants complain that the reproduction of Category One materials would require a

new protective order and the intervention of Qatar. Stonington Opp. at 20. But negotiation of a

protective order is routine in civil cases and does not ordinarily require undue effort. And

plaintiffs will stipulate that any materials re-discovered in this case will be filed and handled




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under seal until a new protective order is entered. Third parties with confidentiality interests in

documents can be and typically are readily protected by such an order.6

       The final factor is “how far in advance of the typical discovery process the request was

made.” In re Fannie Mae Derivative Litig., 227 F.R.D. at 143. Plaintiffs made this request more

than two months after this action commenced, and they have an urgent need to commence

discovery. There are no preliminary injunction motions to be decided, and discovery would

proceed apace if defendants file an answer that would be due May 7.7 The reasonableness test,

which incorporates these factors and all other relevant circumstances, supports plaintiffs’ request

for expedited discovery.

       B.       Good Cause Exists for Expedited Third-Party Discovery (Category Two)

       Similarly, plaintiffs have also established good cause for expedited third-party discovery

because of the ever-increasing threat of spoliation and deletion of records, both in response to the

filing of this lawsuit and the ordinary course of business. Defendants fault plaintiffs for failing

to “identify any retention policy” of any third party, Stonington Opp. at 22. They do not say,

however, how that information could possibly be within plaintiffs’ knowledge or control without

this Court allowing plaintiffs to issue a subpoena. Moreover, plaintiffs did indicate in their

opening memorandum that social media companies delete certain data within a set period. Mem.



       6
          Defendant Howard argues that, because he was not party to the California action, he
lacked the ability to object to discovery obtained in that action. Howard Opp. at 4. However,
none of the confidential discovery was targeted at Howard, and the defendants in the California
action had sufficient opportunity to object to the discovery in question (and indeed did designate
it as confidential). Discovery of those documents in this case will only facilitate Howard’s
access.
       7
         Defendants argue that the May 7 date is a “red herring” because defendants intend to
file motions to dismiss. Stonington Opp. at 17. However, these motions will not stay discovery.
See infra Part III.


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17 n.5.8 What’s more, phone companies have different policies as to how long they retain

subscriber information and call logs.9 Electronically stored information is inherently ephemeral

and subject to spoliation, and the need for this new electronic discovery became apparent only

after plaintiffs investigated the materials they obtained in the California action. Time is thus

running out for plaintiffs to acquire this vitally important discovery.

       Defendants inexplicably blame Mr. Broidy “for insist[ing]—as he had done months

earlier in California and again does here—that crucial third-party evidence would be lost if he

could not obtain it immediately.” Stonington Opp. at 8. But this simply shows that plaintiffs

have taken a consistent position—that electronic information is perishable and there is a pressing

need to begin discovery. Various phone and social media companies have different, and often

confidential, data retention policies. The threat of spoliation has only increased since plaintiffs

filed their original action in California. As plaintiffs have explained:

                Plaintiffs need not accept the Stonington Defendants’ theory that
                ‘third-party data destruction’ has already occurred. Each day that
                passes only enhance the risk of destruction. Moreover, plaintiffs in
                their First Amended Complaint (and prior versions) included new
                allegations and implicated additional third parties that were not the
                subject of discovery in those prior actions.

Mem at 12 n.4. Defendants have no answer for plaintiffs’ demonstrated good cause for

expedited discovery. Nor have they addressed plaintiffs’ concern that they have been victimized

by a sophisticated global hacking conspiracy, the participants of which have extraordinary

incentive to seek out and destroy evidence and no compunction about illegally entering third-

       8
         See also “Data Retention,” https://www.linkedin.com/help/linkedin/answer/14855/data-
retention?lang=en (“If you close your account, your information generally will be removed from
LinkedIn’s production system within 24 hours.”).
       9
        See Suzanne Choney, How long do wireless carriers keep your data?, NBC News, Sept.
29, 2011, https://www.nbcnews.com/technolog/how-long-do-wireless-carriers-keep-your-data-
120367.

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parties’ computer systems to do so. See Ayyash v. Bank Al-Madina, 233 F.R.D. 325, 327

(S.D.N.Y. 2005) (finding reasonableness standard for expedited discovery satisfied because

“defendants are foreign individuals and corporations who have both incentive and capacity to

hide their assets”).10

        In their opening memorandum, Mem. 11-16, plaintiffs explained why they sought

expedited discovery from seven entities named in the Complaint; there is no need to rehash those

points here. Defendants’ complaint that these entities “are entirely unrelated to any party in this

case,” Stonington Opp. at 24, ignores the fact that plaintiffs have alleged a sophisticated, global

racketeering enterprise with many components and co-conspirators. The FAC and plaintiffs’

memorandum explain the role each third party played in the events relayed in the FAC, and—

importantly—how they each are likely to possess additional information about other entities

relevant to the conspiracy. The fact that some of them were not connected to the defendants in

an employment or other formal relationship is beside the point.11

        Plaintiffs’ third-party requests therefore satisfy the reasonableness standard. The requests

are narrowly tailored to parties referenced in the FAC, and to specific accounts held by social

media companies.12 Plaintiffs have a legitimate purpose in requesting expedited discovery—the


        10
           Defendants argue that mere preservation notices are sufficient to prevent spoliation,
Allaham Opp. at 12, but the case they cite, Dunlap v. Presidential Advisory Comm’n on Election
Integrity, 319 F. Supp. 3d 70, 103 (D.D.C. 2018), does not stand for that proposition. There the
district court relied on the fact that “[t]he Court’s enforcement of [its] injunction in short order
shall ensure that the documents to which Plaintiff is entitled are furnished by Defendants.”
Court-ordered discovery is necessary to prevent spoliation in this case.
        11
          Defendants also complain that discovery from BlueFort Public Relations would
“sidestep” Qatar’s sovereign immunity from discovery. Stonington Mem. at 25. That argument
would have force only if Qatar were willing to represent that BlueFort is its own instrumentality.
        12
         Defendants complain that plaintiffs have already served subpoenas on Google,
LinkedIn, and Twitter, Stonington Opp. at 9, but the present discovery requests relate to different
social media accounts—of which those companies obviously have many. These discrete

                                                 12
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need to avoid spoliation. The requests are directed at third parties, not the defendants or Qatar,

and therefore will not unduly burden them. And, as discussed in Part I.A, supra, plaintiffs’

requests for discovery will not unreasonably rush discovery ahead of its ordinary course.

Plaintiffs’ request for this category of expedited discovery is reasonable.

       C.      Defendants’ Cited Authorities Do Not Apply Here

       None of the cases cited by defendants bear on the situation at issue here, where plaintiffs

seek expedited discovery of discrete categories of documents, including already produced

material, and electronic information that presents a serious risk of spoliation. In Guttenberg v.

Emery, 26 F. Supp. 3d 88, 98 (D.D.C. 2014), relied upon by defendants, the district court denied

the motion for expedited discovery because “plaintiffs want[ed] defendants to produce

documents that would help to prove the extent of damages” in addition to sitting for depositions.

Here, by contrast, defendants would not have to produce any new documents, nor sit for

depositions. Moreover, the decision to deny expedited discovery in Guttenberg was supported

by “[p]laintiffs’ demonstrated lack of urgency in seeking expedited discovery.” Id. By contrast,

plaintiffs here have sought expedited discovery promptly in this case, as soon as all parties were

served with the FAC. And in Landwehr v. F.D.I.C., 282 F.R.D. 1, 4 (D.D.C. 2010), also cited

repeatedly by defendants, the district court denied expedited discovery “given the extraordinary

vagueness of the plaintiffs’ allegations” and because “there is no indication that this expedited

discovery would be narrowly tailored.” Here, by contrast, plaintiffs’ allegations are extremely

detailed, and they have carefully circumscribed their requests. Indeed, the first category of

requested discovery consists of materials plaintiffs already possess, and the second category

consists of third-party documents that, without prompt action, may disappear. These cases



accounts were identified during plaintiffs’ investigation of the hackings and utilizing discovery
from the California litigation.

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underscore the need for the Court to take the unique circumstances of the case into account in

deciding the reasonableness inquiry.

       Moreover, defendants are simply incorrect, as a matter of law, in asserting that discovery

“is especially inappropriate when the Defendants will be seeking to dismiss the case on

immunity grounds.” Stonington. Op. at 11. The very decision Stonington Defendants cite for

that proposition, Sai v. Dep’t of Homeland Sec., 99 F. Supp. 3d 50 (D.D.C. 2015), observed that

“courts often permit discovery while motions to dismiss and other threshold motions are

pending. . . . No categorical rule is appropriate; rather each case should be considered based on

its unique facts and context.” Id. at 58. In that case, the district court denied discovery because

plaintiffs had moved for early summary judgment: “Plaintiff made a decision to file an early

motion for summary judgment and thus cannot ask that the Court authorize discovery in support

of that motion.” Id. Here, by contrast, plaintiffs will face defendants’ jurisdictional motions to

dismiss, thus requiring relevant information be made available before the Court decides those

motions. See Part II.B, infra.

       Defendants also wrongly argue that “[e]xpedited discovery is only appropriate under

limited circumstances” involving preliminary injunctions13 and copyright actions against

unknown defendants. Stonington Opp. at 12. But no case or rule supports such a limitation. See

Simon v. Republic of Hungary, No. 10-01770 (BAH), 2012 WL 13069772, at *4 (D.D.C. Oct.

19, 2012) (granting expedited discovery due to age of witness); Ellsworth Assocs., Inc. v. United


       13
          This Court has already rejected the argument that expedited discovery is appropriate
only in the context of preliminary injunctions. Arista Records LLC v. Does 1-19, 551 F. Supp.
2d 1, 7–8 (D.D.C. 2008) (“Defendants’ next argument is that a court may not grant leave to take
expedited discovery without a prayer for injunctive relief. This argument is meritless, as the
Federal Rules of Civil Procedure contain no such requirement, and the cases cited by the Court
above involve instances where courts allowed expedited discovery in the absence of a request for
a preliminary injunction.”) (quotation marks omitted).


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States, 917 F. Supp. 841, 844 (D.D.C. 1996) (“Courts have wide discretion with respect to

discovery and [the Federal Rules] expressly provide[] that courts may expedite discovery.”).

       Allaham mistakenly states that the plaintiffs in Simon “sought injunctive relief,” Allaham

Opp. at 6-7, but the court’s opinion and the record indicate otherwise. The plaintiffs there filed a

class action complaint seeking damages and other remedies for tortious conduct allegedly

committed during the Holocaust. 2012 WL 13069772, at *1. The court granted expedited

discovery due to the sought-after deponent’s age, id. at 3–4, which further demonstrates that

expedited discovery is not limited to the narrow circumstances cited by defendants. And, much

as in the copyright context, plaintiffs here seek discovery from social media providers precisely

to uncover the identity of additional conspirators before perishable evidence is destroyed. See

Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 242 (S.D.N.Y. 2012) (holding that “expedited

discovery is necessary to prevent the requested data from being lost forever as part of routine

deletions by the ISPs”).

II.    Defendants’ Immunity Arguments Reinforce the Need for Expedited Discovery

       Defendants ultimately argue that they are not required to participate in discovery until the

Court decides the motions to dismiss they plan to file on derivative sovereign immunity grounds.

Stonington Opp. at 2, 10-11; Allaham Opp. at 15-16; Howard Opp. at 2. But this position is

profoundly mistaken in the context of the anticipated Rule 12(b)(1) motions. Plaintiffs are

unquestionably entitled to discovery to address substantial factual issues relevant to defendants’

jurisdictional motions and, indeed, reserve the right to seek further discovery relevant to those

issues once the motions are filed. But for present purposes, defendants’ forthcoming motions to

dismiss actually reinforce the need to grant this motion.




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         A.     Defendants are Not Entitled to Derivative Sovereign Immunity

        As an initial matter, defendants’ immunity defense is not well-founded under these

circumstances and poses no bar to expedited discovery. Their argument would unreasonably

extend the doctrine of “official acts” immunity to cover the illegal conduct of any paid lobbyist

of a foreign state. No court has reached that far, and such a defense is bound to fail, for several

reasons.14

        First, defendants are U.S. citizens, and longstanding State Department policy precludes

U.S. citizens—or even permanent residents—from invoking the immunity of a foreign state to

avoid the jurisdiction of U.S. courts. See Yousuf v. Samantar, 699 F.3d 763, 777 (4th Cir. 2012).

The relevant inquiry, as this Court has observed, is “whether the ground of immunity is one

which it is the established policy of the State Department to recognize.” Doe 1 v. Buratai, 318 F.

Supp. 3d 217, 230 (D.D.C. 2018) (internal quotation and citation omitted). Defendants’

invocation of immunity is contrary to that established policy.

        Second, an official may enjoy a derivative immunity only “when a judgment against the

official would bind (or be enforceable against) the foreign state.” Lewis, 918 F.3d at 146. Here,

plaintiffs seek relief from defendants in their individual capacity and do not “seek[] to draw on

the [a foreign state’s] treasury or force the state to take specific action, as would be the case if the

judgment were enforceable against the state.” Id. at 147. Lewis plainly forecloses the extension

of immunity here.




        14
          In fact, “[i]t may well be that there is not now and never was any common law of
immunity for foreign officials sued in the United States.” Lewis, 918 F.3d at 149 (Randolph, J.,
concurring). Judge Randolph’s observation is even more compelling in the context of foreign
agents. While the Second Restatement refers to agents, there is very little actual common law
authority in the United States applying a foreign state’s sovereign immunity to the acts of its paid
agents, especially where, as here, those agents are U.S. citizens.

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       Third, the FAC plainly alleges that defendants were not merely carrying out “official

acts” on instructions from Qatar, but rather acted as independent co-conspirators who took on

decision-making responsibility in an illegal enterprise. Cf. Butters v. Vance Int’l, Inc., 225 F.3d

462, 466–67 (4th Cir. 2000) (recognizing derivative immunity of a corporation that was simply

“following [a foreign state’s] orders.”). As a matter of law, defendants’ immunity claims fail to

leave the ground.

       B.      Defendants’ Plans to Assert Immunity Justify Expedited Discovery

       More importantly to the present motion, defendants’ invocation of an immunity defense

is an independent reason to expedite discovery—to aid the Court in determining whether

defendants should receive derivative, or “official acts,” immunity. To the extent this affirmative

defense has any chance of succeeding, defendants would have to demonstrate, based on an

evidentiary showing, that they are immune from jurisdiction. See Lewis, 918 F.3d at 145.

       “This Circuit’s standard for permitting jurisdictional discovery is quite liberal.” Diamond

Chem. Co., Inc. v. Atofina Chems., Inc., 268 F.Supp.2d 1, 15 (D.D.C. 2003). The law is clear

that discovery regarding the basis for the Court’s jurisdiction will be warranted here to determine

whether defendants were actually agents of Qatar and whether they acted within the scope of

their authority.15 This is especially the case here because the facts regarding defendants’


       15
           See Phx. Consulting Inc. v. Rep. of Angola, 216 F.3d 36, 40 (D.C. Cir. 2000) (courts
“must give the plaintiff ample opportunity to secure and present evidence relevant to the
existence of jurisdiction”) (quotation marks omitted); GTE New Media Servs., 199 F.3d at 1351
(“[I]f a party demonstrates that it can supplement its jurisdictional allegations through discovery,
then jurisdictional discovery is justified.”); Intelsat Glob. Sales & Mktg., Ltd. v. Cmty. of
Yugoslav Posts Tels. & Tels., 534 F. Supp. 2d 32, 34 (D.D.C. 2008) (“a court should allow for
limited jurisdictional discovery if a plaintiff shows a nonconclusory basis for asserting
jurisdiction and a likelihood that additional supplemental facts will make jurisdiction proper”);
Funk v. Belneftekhim, 861 F.3d 354, 367 (2d Cir. 2017) (discovery against a company claiming
immunity under the FSIA was appropriate “[b]ecause the parties’ submissions present disputes
of material fact as to [defendants’] foreign sovereign immunity claim”).


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relationship with Qatar and the scope of any authority they had to act on behalf of Qatar are

peculiarly within the defendants’ knowledge and control. See Kamen v. AT&T Co., 791 F.2d

1006, 1011 (2d Cir. 1986) (“the party asserting jurisdiction be permitted discovery of facts

demonstrating jurisdiction, at least where the facts are peculiarly within the knowledge of the

opposing party.”).16 Defendants will not be entitled to dismissal on the basis of the allegations

within the FAC alone. Plaintiffs’ allegations that defendants were at times registered and

unregistered foreign agents of Qatar do not by themselves settle the question: “[C]ommon law

agent status is not sufficient to establish derivative sovereign immunity. . . . [S]imply being the

government’s common law agent does not entitle a contractor to derivative sovereign immunity.”

In re KBR, Inc., Burn Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014).

       The “Category One” discovery that was already produced in the California litigation will

be particularly probative of any immunity defense. Defendants argue that the already produced

materials include “sensitive diplomatic and foreign policy documents” of Qatar, Stonington Opp.

at 18—but these are the exact type of information that would help establish whether defendants

were engaged in “official acts” on behalf of Qatar when they participated in the tortious hacking

conspiracy against plaintiffs. The materials plaintiffs seek to re-discover—consistent with

Qatar’s own suggestion to the California magistrate—will illuminate defendants’ lobbying

relationships with Qatar, the scope of their “official” duties, and their communications with other

Qatari agents. The need to obtain jurisdictional facts, far from barring expedited discovery,

provides a sufficient independent basis for it.

       The third-party discovery plaintiffs seek is also likely to uncover probative, usable

evidence that undermines defendants’ derivative sovereign immunity claims. Communications


       16
         See also Williamson v. Tucker, 645 F.2d 404, 414 (5th Cir. 1981); Rundquist v.
Vapiano SE, 798 F. Supp. 2d 102, 120 (D.D.C. 2011).

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between defendants and Sphere Consulting, Diogenes Group Research, Conover & Gould, and

Mercury Public Affairs (or between any two of these entities) would shed light on defendants’

efforts to spearhead and organize the media campaign against plaintiffs using their hacked

emails.

          Likewise, communications with the Zionist Organization of America and BlueFort, the

sham company controlled by Qatar, may illuminate whether defendants were following Qatar’s

directions in executing the plot against Mr. Broidy. All of this discovery is likely to be relevant

to defendants’ “official acts” immunity defense, and therefore the Court should afford plaintiffs

an opportunity to obtain it before the Court decides defendants’ motions to dismiss.17

III.      A Stay of Discovery is Not Warranted For Any 12(b) Motion Defendants Might
          Bring

          A stay would also be inappropriate should defendants move to dismiss on any other

ground as well. “Generally, a pending motion to dismiss is not a good reason to stay discovery.”

United States ex rel. Westrick v. Second Chance Body Armor, Inc., No. 04-0280 (RWR/AK),

2007 WL 9706653, at *2 (D.D.C. Aug. 31, 2007); see People With Aids Health Grp. v.

Burroughs Wellcome Co., No. 91-0574, 1991 WL 221179, at *1 (D.D.C. Oct. 11, 1991) (denying

motion to stay discovery pending a motion to dismiss). Indeed, stays of discovery “are not

favored because when discovery is delayed or prolonged it can create case management

problems which impede the Court’s responsibility to expedite discovery and cause unnecessary

litigation expenses and problems.” Feldman v. Flood, 176 F.R.D. 651, 652 (M.D. Fla. 1997).

          As courts have noted, if a motion to dismiss under Rule 12(b) automatically stayed

discovery the Federal Rules would say so. See, e.g., Coca-Cola Bottling Co. of Lehigh Valley v.


          17
          Discovery into various social media accounts associated with the hackers’ spear
phishing efforts against plaintiffs’ associates is likely to reveal the identity of other co-
conspirators, thus demonstrating that they were not engaged in “official acts.” Mem. at 17.

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Grol, No. No. 92-7061, 1993 WL 13139559, at *2 (E.D. Pa. Mar. 8, 1993) (“Had the drafters of

the Federal Rules of Civil Procedure wanted an automatic stay of discovery pending a motion to

dismiss they could have so provided.”); Twin City Fire Ins. Co. v. Emp’rs. Ins. of Wausau, 124

F.R.D. 652, 653 (D. Nev. 1989) (“[A] pending motion to dismiss is not ordinarily a situation that

in and of itself would warrant a stay of discovery”); Bowens v. Columbus Metro. Library Bd. of

Trs., No. 2:10-CV-00219, 2010 WL 3719245, at *2 (S.D. Ohio Sept. 16, 2010) (“[T]he fact that

a party has filed a case-dispositive motion is usually deemed insufficient to support a stay of

discovery.”). Defendants’ repeated assertions that they are absolved from all discovery

obligations until their motions are decided are without basis in law.

       Defendants cannot, and do not attempt to, satisfy the legal standard for a stay. Under

Rule 26(c)(1), courts will stay discovery only “for good cause.” To establish good cause under

Rule 26(c)(1), defendants must make an affirmative showing that commencing discovery would

cause them “annoyance, embarrassment, oppression, or undue burden or expense.” See

Burroughs, 1991 WL 221179, at *1 (“[B]are assertions that discovery will be unduly

burdensome . . . are insufficient to justify the entry of an order staying discovery.”) (quotation

marks omitted). Here, no unusual circumstances support a stay.

       As one court observed, “[i]n any case where a dispositive motion is filed in the early

stages of litigation, the parties might incur discovery costs that ultimately may be rendered

unnecessary if the pending dispositive motion is granted,” but in the absence of some reason to

think “the instant matter is different than any other case,” those costs alone cannot warrant a stay

of discovery. Maher Terminals, LLC v. Port Auth. of N.Y. & N.J., No. 12-6090 KM, 2013 WL

2253532, at *1 (D.N.J. May 22, 2013); see also Standard Bank PLC v. Vero Ins. Ltd., No. 08-cv-

02127-PAB-BNB, 2009 WL 82494, at *2 (D. Colo. Jan. 13, 2009) (holding that commencing




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discovery would impose “no special burden” because “[p]arties always are burdened when they

engage in litigation,” simply by virtue of “our judicial system and the rules of civil procedure”).

       In addition to defendants’ inability to show good cause for a discovery moratorium, a

stay would unfairly prejudice plaintiffs. Without expedited discovery of the Category One

documents plaintiffs currently possess but may not use, plaintiffs will be unable to make their

best and most plausible case. And if potential evidence in Category Two is destroyed as part of

an effort to conceal the scheme to target Mr. Broidy, plaintiffs will be especially prejudiced.

Mirra v. Jordan, 2016 WL 889559, at *2–3 (S.D.N.Y. Mar. 1, 2016) (denying stay of discovery

for the reason that “the plaintiff will suffer unfair prejudice from a stay of discovery because . . .

witnesses’ memories are fading with time.”); see also Digital Sin, Inc., 279 F.R.D. at 242; Arista

Records LLC, No. 07-cv-2357-LAB, 2007 WL 4538697, at *1. To prevent deterioration in the

quality of evidence available, the Court should direct defendants to proceed with the normal

course of discovery in this case.

                                          CONCLUSION

       For the foregoing reasons, and those contained in plaintiffs’ initial memorandum,

plaintiffs respectfully request that the Court grant their motion for expedited discovery.



Dated: May 2, 2019                                     Respectfully submitted,

                                                       /s/ Filiberto Agusti
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2019, I electronically filed the foregoing with the Clerk of

the Court for the United States District Court for the District of Columbia by using the Court’s

CM/ECF system, which sent notification of such filing to counsel of record in this action.

                                                             Respectfully submitted,

                                                             /s Filiberto Agusti
                                                             Filiberto Agusti
